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 1
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 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Jesse Wheeler
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
                                                   )   Case No.: 2:11-cr-00504-WBS
 9   UNITED STATES OF AMERICA,                     )
                                                   )   STILPULATION AND ORDER FOR
10                 Plaintiff,                      )   MODIFICATION OF CONDITIONS OF
                                                   )   PRE-TRIAL RELEASE
11        vs.                                      )
     JESSE WHEELER,                                )
12                                                 )
                   Defendant.                      )
13                                                 )
                                                   )
14
15          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that Jesse
16   Wheeler’s release condition is amended to a curfew monitor as follows:
17          CURFEW: Mr. Wheeler is restricted to his residence every day from 9:00 p.m. to
18   7:00 a.m., or as adjusted by the pretrial services officer for medical, religious services,
19   employment or court-ordered obligations. Mr. Wheeler understands and has been advised
20   that unless for medical, religious, employment, or court ordered obligation (testing,
21   counseling, etc.), Pretrial Services will require a court order to allow him out past 9:00
22   p.m.
23          Thomas A. Johnson, Defendant’s attorney, and Pre-Trial Services both agree to
24   this pre-trial release condition modification. Lee Bickley, Assistant United States
25   Attorney, does not object to the modification. All other previously ordered conditions of
26   release remain in full force and effect.
27   ////
28   ////


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 1   IT IS SO STIPULATED.
 2   DATED: July 22, 2014                    By:    /s/ Thomas A. Johnson_____
                                                   THOMAS A. JOHNSON
 3                                                 Attorney for Jesse Wheeler
 4
     DATED: July 22, 2014                          BENJAMIN B. WAGNER
 5                                                 United States Attorney
 6                                           By:   /s/ Thomas A. Johnson for_
                                                   Lee Bickley
 7                                                 Assistant U.S. Attorney
 8
     IT IS SO ORDERED.
 9
     Dated: July 24, 2014
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